      Case 2:13-cr-00014-RMP      ECF No. 274    filed 02/21/14   PageID.2226 Page 1 of 1




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 2
 3                          UNITED STATES DISTRICT COURT
 4                       FOR THE DISTRICT OF WASHINGTON
 5
 6 UNITED STATES OF AMERICA,                         No. 2:13-CR-014-RMP-2

 7                       Plaintiff,                  ORDER GRANTING UNOPPOSED
 8                                                   MOTION TO MODIFY
     vs.                                             CONDITIONS OF RELEASE
 9
10 KARIS DELONG,
11
                         Defendant.
12
13          Before the Court is Defendant’s Unopposed Motion to Modify Conditions of
14   Release, ECF No. 270. The Defendant is requesting to be allowed to travel outside
15   the Eastern District of Washington at the discretion of Pretrial Services.
16          Assistant U.S. Attorney on this matter, Christopher E. Parisi, has no
17   objection to the modification, and would leave any travel plans to the discretion of
18   the U.S. Probation Office. Nathan Uhlorn, Defendant’s Probation Officer was
19   notified of this Motion and has no objection.
20          IT IS ORDERED that the Motion, ECF No. 270, is GRANTED.
21   Defendant may travel outside the Eastern District of Washington, with prior
22   approval of Pretrial Services, and at the discretion of Pretrial Services.
23          Defendant shall continue to abide by other conditions of release previously
24   set.
25          DATED February 21, 2014.
26
                                      _____________________________________
27                                              JOHN T. RODGERS
28                                     UNITED STATES MAGISTRATE JUDGE



     ORDER - 1
